Case 11-13536-RA|\/| Doc 120 Filed 08/03/15 Page 1 of 4

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORI])A
lV[[AMI DIVISION

IN RE: CASE No. 11-13536-BKC-RAM
Chapter 13
MARTY L. TAYLOR-BEY
Debtor
/

DEBTOR’S MOTION TO MODIFY FIFTH MODIFIED CHAPTER 13 PLAN and
Certificate of Service of the Motion and the Court Generated Notice of Hearing

The Debtor(s), Marty L. Taylor-Bey, by and through the undersigned counsel moves this

honorable court for an order allowing Debtor to modify the Fifth Modified Chapter 13 Plan and

confirming the Sixth Modified Chapter 13 Plan, a copy of the Sixth Modified Chapter 13 Plan will be

filed prior to the scheduled hearing on the matter. ln support thereof the Debtor states the following:
1. Debtor filed for bankruptcy protection on 02/10/2011.
2. The Fifth Modified Chapter 13 Plan was confirmed on 7/29/2014.
3. Debtor(s) has paid in approximately $77,265.00 toward their Chapter 13 Plan.

4. The Debtor(s) wishes to modify the Chapter 13 plan to cure the current delinquency, as

they cannot fully fund it at this time.

5. The granting of this motion would not prejudice any creditor.

WHEREFORE the Debtor requests that this court enter an order allowing debtor to modify the

Fifth Modified Chapter 13 Plan and confirming the Sixth Modified Chapter 13 Plan.

I certify that I am admitted to the Bar of the United States District Court for the Southern District

of Florida and lam in compliance with the additional qualifications to practice in this court set forth in
Local Rule 2090- 1(A)

Dated this 3rd day of August, 2015 .
Respectfully submitted,
Miller & Funcia, P.A.
9555 N. Kendall Drive, Suite 211
Miami, Florida 33176
Phone: 305-274-2922
Fax: 305-722-3 656
millerfunciapa@bellsouth.net
/s/
Joshua S. Miller, Esq. FBN 64191

 

Case 11-13536-RA|\/| Doc 120 Filed 08/03/15 Page 2 of 4

CERTIFICATE OF SERVICE AND CGMPLIANCE WITH LOCAL RULE 9073-1(D)

l certify that a true copy of the foregoing motion, chapter 13 plan and a true copy of the Notice
of Hearing of the foregoing motion, subsequently generated by the court after the filing of the
foregoing motion, will be served electronically by the court as set forth below and via regular
US Mail to all creditors as set forth below on the 3rd da of Au ust 2015.

Electronicall_ig

Joshua S Miller, Esq on behalf of Debtor Martv L, Tavlor~Bev
ioshuasmillerpa@bel/south.net nri/le/'funciaec/@qmail,com
Nanc)g K. Neidi`ch

208 821 @ch 1 3/1erkert. com

Odzce of the US Trustee
USTPRe Qi0/12 1 . MM. ECF@ust/'. aov

Brian L Rosa!er, Esa on behalf of Creditor Bavvi`ew Loan Sei'vi'cinq LLC

brosaler@popkinrosaler. com, hbeh:adi)our@popki?/'z)'osaler. com,'cohavon@popkinrosaler. com;rcohn @popkim'osaler. com
Wavne M Singletary, Esq on behalf of_Creditor Santana’er Consumer USA Inc

courtmal'l@schuv/aw. com

 

Via Fz`rst Class Mail

To all other interested parties on the attached service list_Matrix

1 further certify that I have conferred with opposing counsel in an attempt to resolve these
issues without a hearing, if appropriate for the foregoing motion.

Dated this 3rd day ofAugust, 2015.
Respectfully submitted,
Miller & Funcia, P.A.
9555 N. Kendall Drive, Suite 211
Miami, Florida 33176
Phone: 305-274-2922
Fax: 305-722-3656
millerfunciapa@bellsouth.net
/s/
Joshua S. Miller, Esq. FBN 64191

 

CaSe 11-13536-RA|\/| DOC 120 Filed 08/03/15

Label Matrix for local noticing
113C-1

Case 11-13536-RAM

Southern District of Florida
Miami

Mon Aug 3 12:17:54 EDT 2015
National Capital Management, LLC
POB 12785

Norfolk, VA 23541-0785

Santander Consumer USA
F.O. Box 560284
Dallas, TX 75356-0284

Amex
Po Box 297871
Fort Lauderdale, FL 33329-7871

Ashley Funding Services LLC its successors a
assigns as assignee of Syndicated Office
Systems, Inc

Resurgent Capital Services

PO Box 10587

Greenville, SC 29603-0587

Dade County Fcu
1500 Nw 107th Ave
Doral, FL 33172-2706

Gulf Coast Collection
5690 Marquesas Cir
Sarasota, FL 34233

Macys/Fdsb
9111 Duke Blvd
Mason, OH 45040-8999

(p)PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

Selportsvc
3815 South West Temple St
Salt Lake City, UT 84115-4412

Bayview Loan Servicing LLC
c/o: Brian L Rosaler, Esq.
1701 W Hillsboro Blvd #400
Deerfield Beach, FL 33442-1572

PRA Receivables Management LLC
POB 41067
Norfolk, VA 23541-1067

Afni, Inc.
Po Box 3427
Bloomington, IL 61702-3427

Amsher Collection Serv
600 Beacon Pkwy W Ste 30
Birmingham, AL 35209-3114

Bayview Financial Loan
4425 Ponce De Leon Blvd
Coral Gables, FL 33146-1873

Enhanced Recovery Co L
8014 Bayberry Rd
Jacksonville, FL 32256-7412

(p)INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELFHIA PA 19101-7346

National Capital Management, LLC.
POB 12786
Norfolk VA 23541-0786

ij Acq Llc
575 Underhill Blvd Ste 2
Syosset, NY 11791-3426

Special Assistant United State Atty.
Assc. Area Counsel (SBSE)

Ft. Lauderdale -Royal Palm Bldg.
1000 S. Pine Island Rd., #300

Ft. Lauderdale, FL 33324-3910

PageSof4

(p)JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

Santander Consumer USA Inc
PO Box 660633
Dallas, TX 75266-0633

American InfoSource LP as agent for
T Mobile/T-Mobile USA Inc

PO Box 248848

Oklahoma City, OK 73124-8848

Arrow Financial Servic
5996 W Touhy Ave
Niles, IL 60714-4610

Central Finl Control
Po Box 66051
Anaheim, CA 92816-6051

Gemb/Toro
Po Box 981439
El Paso, TX 79998-1439

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

0ffice of the US Trustee
51 S.W. lst Ave.

Suite 1204

Miami, FL 33130-1614

Santander Consumer Usa
8585 N Stemmons Fwy Ste
Dallas, TX 75247-3822

The Honorable Eric Holder
United States Attorney General
950 Pennsylvania Avenue, N.W.
#4400

Washington, DC 20530-0009

Case 11-13536-RA|\/| Doc 120 Filed 08/03/15 Page 4 of 4

The Honorable R. Alexander Acosta Up/Regionsm Volvo Finance Inc
United States Attorney Po Box 110 1 Paragon Dr

Southern District of Florida Hattiesburg, MS 39403-0110 Montvale, NJ 07645-1765
99 N.E. 4 St.

Miami, FL 33132-2145

no name on CR Liability Joshua S Miller Esq Marty L. Taylor-Bey
9555 N Kendall Dr #211 1105 N.W. 151 St.
Miami, FL 33176-1970 Miami, FL 33169-6109

Nancy K. Neidich

www. chlBherkert . coin
POB 279006

Miramar, FL 33027-9806

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Jefferson Capital Systeiis LLC Internal Revenue Service (d)Jefferson Capital Systems LLC
PO BOX 7999 P.O. Box 17167 PO BOX 7999
ST CLOUD, MN 56302-9617 Stop 5760 SAINT CLOUD MN 56302-9617

Fort Lauderdale, FL 33324

Portfolio Recovery Associates, LLC
POB 41067
Norfolk, VA 23541

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Miami End of Label Matrix
Mailable recipients 36
Bypassed recipients 1
Total 37

